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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                        GREAT FALLS DIVISION

UNITED STATES OF AMERICA,                             CR-14-55-BMM

                 Plaintiff,

       vs.
                                             ORDER ADOPTING FINDINGS AND
MARIA ROSE NEWTON,                               RECOMMENDATIONS

                 Defendant.


      United States Magistrate Judge John Johnston entered Findings and

Recommendations in this matter March 21, 2017. (Doc. 110.) Neither party filed

objections. When a party makes no objections, the Court need not review de novo

the proposed Findings and Recommendations. Thomas v. Arn, 474 U.S. 140, 149-

52 (1986). This Court will review Judge Johnston’s Findings and

Recommendations, however, for clear error. McDonnell Douglas Corp. v.

Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313 (9th Cir. 1981).

      Judge Johnston conducted a revocation hearing on March 7, 2017. (Doc.

107.) Newton admitted that she violated the conditions of her supervised release.

The violations prove serious and warrant revocation of Newton’s supervised

release. Judge Johnston has recommended that the Court revoke Newton’s

supervised release and commit Newton to the custody of the Bureau of Prisons for


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eighteen months to run consecutively (Doc. 110 at 5.) Judge Johnston further has

recommended that Newton’s term of custody be followed by 6 months of

supervised release. Judge Johnston recommends that Newton spend her supervised

release term in Great Falls Prerelease Center.

      The Court finds no clear error in Judge Johnston’s Findings and

Recommendations. Newton’s violations of his conditions represent a serious

breach of the Court’s trust. A sentence of eighteen months custody followed by 6

months of supervised release to be spent at the Great Falls Prerelease Center

represents a sufficient, but not greater than necessary, sentence.

      IT IS ORDERED that Judge Johnston’s Findings and Recommendations

(Doc. 110) is ADOPTED IN FULL.

      IT IS FURTHER ORDERED that Defendant Maria Rose Newton be

sentenced to eighteen months custody followed by 6 months of supervised release

to be spent at the Great Falls Prerelease Center. The conditions previously imposed

shall be continued.

      DATED this 11th day of April, 2017.




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